     Case 2:19-cr-00113-SM-MBN Document 63-1 Filed 07/13/21 Page 1 of 11




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                    NO.    19-cr-00113

VERSUS                                                      JUDGE SUSIE MORGAN

MARTHA BUEZO MARTINEZ                                       MAG. JUDGE MICHAEL NORTH




                                   UNDER SEAL
                           MEMORANDUM IN SUPPORT OF
                         MOTION FOR DOWNWARD VARIANCE

MAY IT PLEASE THE COURT:

       Defendant, Martha Martinez, age 51, is the mother of three children and has worked hard

over the last decade to create and develop a company that provides work in the construction field,

at times providing jobs for as many as 90 workers a week. Through her employment, she assists

with providing for her family including both of her elderly parents and her grandson.

       In 2012, Ms. Martinez and her brother created Infinity Construction Resources, Inc.

(“Infinity”) See PSR at ¶ 9. The company provides labor for asbestos abatement and demolition

and provides employment for an average of 50 workers per week. In 2014, Ms. Martinez acquired

her brother’s share of the business and has worked very hard to maintain and grow the business

through good times and bad times over the last six years.

       Ms. Martinez is before this Court for failing to pay federally required FICA taxes due and

owing from her company, Infinity. She has accepted responsibility and plead guilty to Count Two

of the Bill of Information. As part of her plea with the Federal Government, Ms. Martinez has

agreed that the restitution in this case is $272,096.00. Ms. Martinez agreed to this amount of
                                                1
     Case 2:19-cr-00113-SM-MBN Document 63-1 Filed 07/13/21 Page 2 of 11




restitution due and owing as part of her plea as the Mandatory Victim Restitution Act of 1996 does

not apply to Title 26 offense. See PSR at ¶ 14.

       In connection with this agreed upon restitution amount, Ms. Martinez requested to be

allowed to immediately begin restitution payments, even prior to sentencing. See Rec. Doc. No.

34 (Joint Motion to Deposit Restitution Payments Made in Advance of Sentencing). Ms. Martinez

has already begun making restitution payments and to date has paid $35,000.00 in restitution.

       As this Honorable Court is aware, the United States Supreme Court has dictated that the

sentencing guidelines are advisory only, but must be considered by the sentencing court in

determining the sentence. Gall v. United States, 128 S.Ct. at 596, 597 (2007); U.S. v. Booker,

125 S.Ct. 738, 756, 757 (2005). After calculating and considering the guidelines, the sentencing

court must then review the sentencing factors in 18 U.S.C. 3553(a), and, necessarily, any variances,

upward or downward, from the guideline calculation justified by these statutory factors and

variances, and explain them. “...[T]he sentencing court must first calculate the Guidelines range,

and then consider what sentence is appropriate for the individual defendant in light of the statutory

sentencing factors, 18 U.S.C. §3553(a), explaining any variance from the former with reference to

the latter.” Nelson v. U.S., 129 S.Ct. 890, 892 (2009). When the sentencing court does not follow

this procedure, the sentence must be vacated and remanded. United States v. Tisdale, 264

F.App’x 403 (5th Cir. 2008).

       The district court is not entitled to presume that its within-guideline range sentence is

reasonable. Gall, supra at 596, 597; Rita v. U.S., 127 S.Ct. 2456, 2465 (2007). The sentencing

statute, 18 U.S.C. 3553(a), requires the sentencing court to weigh and balance all pertinent

sentencing factors and “...impose a sentence that is sufficient, but not greater than necessary, to


                                                  2
     Case 2:19-cr-00113-SM-MBN Document 63-1 Filed 07/13/21 Page 3 of 11




comply with the basic aims of sentencing as set forth above”. (Emphasis added.) Rita, Id., at

2463. A below guidelines sentence may be based on circumstances that are not extraordinary.

Gall, supra, at 595. The reviewing “...court will, of course, take into account the totality of the

circumstances, including the extent of any variance from the Guidelines range”. Gall, supra, at

597. The next step, as required by U.S. v. Nelson, supra, is that the court must explain “any

variance in light of 18 U.S.C. 3553(a)”.

        The sentencing court’s failure to follow these procedural mandates of the United States

Supreme Court eliminates the non-binding, appellate court “rebuttable” (U.S. v. Newsome, 515

F.3d 374, 379 (5th Cir. 2008)), presumption that the within Guideline sentence is reasonable. Rita,

supra, at 2463, 2465.

        Applying similar sentencing considerations, especially reformation of the defendant, his

plea and cooperation, and downward variance factors, the United States Supreme Court in Gall,

supra, reversed the Court of Appeal’s remand, and affirmed the district court’s sentence of

probation, which was a non-incarceration reduction from the PSR’s Zone D guideline calculation

of 30-37 months for the defendant’s role in a drug conspiracy. The Supreme Court recognized

with approval the district court’s review of variances and 18 U.S.C. 3553(a) factors justifying the

probationary sentence, concluding with:

        Any term of imprisonment in this case would be counter effective by depriving
        society of the contributions of the Defendant who, the Court has found, understands
        the consequences of his criminal conduct and is doing everything in his power to
        forge a new life. The Defendant’s post-offense conduct indicates neither that he
        will return to criminal behavior nor that the Defendant is a danger to society.

Id., Gall, supra, at 593.

        In U.S. v. Rowan, 530 F.3d 379 (5th Cir. 2008), the defendant pleaded guilty to illegal


                                                3
     Case 2:19-cr-00113-SM-MBN Document 63-1 Filed 07/13/21 Page 4 of 11




possession of child pornography, with a calculated Guideline range of 46-57 months of

imprisonment, a Zone D, non-probationary zone under the Guidelines. The court imposed a

below Guideline, non-incarceration sentence of 60 months of probation.           The Government

appealed, and the reviewing court vacated and remanded for re-sentencing. After the decision in

Gall, supra, the United States Supreme Court granted the defendant/petitioner’s writ, vacated the

Fifth Circuit opinion, and remanded for consideration under Gall, supra. The Fifth Circuit then

reviewed the 60-month probationary sentence under Gall, supra. The court found no procedural

error in the district court’s sentence, when it followed the dictates of 18 U.S.C. 3553(a), and the

standards in Gall, supra. The court affirmed the probationary sentence.

       Similar treatment was given in U.S. v. Duhon, 541 F.3d 391 (5th Cir. 2008), wherein, on

remand from the United States Supreme Court, the Fifth Circuit affirmed the district court’s 60-

month probationary sentence in a child pornography case, in the new light of Gall, supra. The

court reiterated that the probationary sentence in Rowan, supra, under the Gall, supra, standard,

“...was substantively reasonable.” Id., Duhon, at 399.

       The court noted that Rowan downloaded and possessed “over 400 images of hard core

child pornography”, and Duhon “downloaded 15 images of child pornography.” Id., Duhon, at

399. In spite of the dangerous, pedophilia nature of defendants Rowan and Duhon, the Fifth

Circuit in Duhon, supra, approved the district courts’ variances that justified the below-Guideline,

probationary sentences, to wit: “The district court, however, believed probation was appropriate

because Rowan, like Duhon, did not have a criminal history and also would benefit most from

continuing his medical treatment with his psychologist.” Id. The court found no abuse of

                                                 4
     Case 2:19-cr-00113-SM-MBN Document 63-1 Filed 07/13/21 Page 5 of 11




discretion by the sentencing court in Rowan or Duhon.

       Under all standards of fairness and reasonability, if the totality of circumstances justify the

reasonableness of probation for hard core multiple instances of child pornography in Rowan,

supra, and Duhon, supra, Ms. Martinez’s totality of circumstances in this non-pedophilia, non-

sex, non-drug, and non-violent economic crime case pales in comparison.

       These mandatory rules and principles have been re-emphasized and reconfirmed by the

United States Supreme Court in the re-sentencing case of Pepper v. United States, 131 S.Ct. 1229

(March 2, 2011), wherein the Supreme Court required that all information about a defendant’s life

and character must be weighed by the sentencing court so “...that ‘the punishment should fit the

offender and not merely the crime,’” as follows:

       It has been uniform and constant in the federal judicial tradition for the sentencing
       judge to consider every convicted person as an individual and every case as a
       unique study in the human failings that sometimes mitigate, sometimes magnify,
       the crime and the punishment to ensure.’ Koon v. United States, 518 U.S. 81 113,
       116 S.Ct. 2035, 135 L.Ed.2d 392 (1996). Underlying this tradition is the principle
       that ‘the punishment should fit the offender and not merely the crime.’ Williams,
       337 U.S., at 247, 69 S.Ct. 1079; see also Pennsylvania ex rel, Sullivan v. Ashe, 302
       U.S. 51, 55, 58 S.Ct. 59, 82 L.Ed. 43 (1937) (‘for the determination of sentences,
       justice generally requires consideration of more than the particular acts by which
       the crime was committed and that there be taken into account the circumstances
       and that there be taken into account the circumstances of the offense together with
       the character and propensities of the offender.’).

         Consistent with this principle, we have observed that ‘both before and since the
       American colonies became a nation, courts in this country and in England practiced
       a policy under which a sentencing judge could exercise a wide discretion in the
       sources and types of evidence used to assist him in determining the kind and extent
       of punishment to be imposed within limits fixed by law.’ Williams, 337 U.S., at
       246, 69 S.Ct. 1079. In particular, we have emphasized that ‘[h]ighly relevant-if
       not essential-to [the] selection of an appropriate sentence is the possession of the
       fullest information possible concerning the defendant’s life and characteristics.’
       Id., at 247, 69 S.Ct. 1079. Permitting sentencing courts to consider the widest
                                                 5
     Case 2:19-cr-00113-SM-MBN Document 63-1 Filed 07/13/21 Page 6 of 11




       possible breadth of information about a defendant ‘ensures that the punishment will
       suit not merely the offense but the individual defendant. Wasman v. United States,
       468 U.S. 559, 564, 104 S.Ct. 3217, 82 L.Ed.2d 424 (1984).

       The PSR provides a basis and reason for a variance and the totality of Ms. Martinez’s

circumstances favor a reduced sentence, through a motion for a variance under 18 U.S.C. 3553(a).

The PSR, ¶¶ 72 - 74, suggests, without recommendation, that variance factors under 18 U.S.C.

3553(a), include Ms. Martinez is 50 (now 51) and the instant offense is her only conviction.

Considering the seriousness and nature of the offense, under 18 U.S.C. 3553(a), the probation

report notes that “[t]he instant offense did not involve a danger to the public or a risk to public

safety”. See PSR ¶ 74. Lastly, the Probation Report notes that Ms. Martinez has a stable work

history and could begin paying restitution immediately - which she has already begun doing. As

noted above, Ms. Martinez has already paid $35,000.00 in restitution and these payments were

made during the economic downturn caused by the COVID-19 pandemic.

       A variance can also be based on Ms. Martinez’s steady employment, historically and

currently, and her company’s employment of many others in the temporary labor force - who

usually have difficulty finding other employment. These are the hard to employ workers who

have a hard time finding jobs and who are often the downtrodden with no other place to go for

employment. Sentencing Ms. Martinez to a non-incarceration sentence will enable her company

to continue to provide employment for this needful segment of the work force and allow her to

continue to make restitution payments. The converse is also true – incarcerating Ms. Martinez

will cause the shutdown of the business and employment of these types of workers.

       Similar cases in this District have allowed a downward variance to a probationary sentence.

                                                6
       Case 2:19-cr-00113-SM-MBN Document 63-1 Filed 07/13/21 Page 7 of 11




Additionally, a downward variance based on economic loss to employees and the community, is

not unprecedented, and is supported by the jurisprudence. Locally, for instance, in U.S. v. Ton,

No. 12-CR-272, Section H, USDC, EDLA, May 30, 2013, Mr. Ton was sentenced to a term of

probation, which was downward from the Total Offense Level of 21, 37 - 46 months, for a felony

tax plea with a tax loss and restitution of approximately $3.6 million. Even after a four level

reduction recommendation by the government for cooperation, Mr. Ton still faced jail time and a

complete interruption, if not destruction, of his sole proprietor crew boat business. One of the

reasons for the downward departure, under 18 U.S.C. 3553(a), was the Court’s recognition of the

business loss to the company, its employees and the community.

          I’ve also considered the many letters from the people in Plaquemines Parish that have
        been affected by the actions of Mr. Ton that discussed his willingness to serve following
        the horrors of Katrina, as well as the oil spill, and his commitment to his community and
        to his company and the many employees that would be affected by this morning’s event.
        And I have considered all of those things, as well as the factors annunciated in the Code of
        Criminal Procedure. (The Honorable Jane Triche Milazzo.) (Emphasis added.)

        The authorities pertaining to variances, as submitted by Mr. Ton’s counsel, Mr. Kenneth

Polite, are just as applicable in Ms. Martinez’s case and indicate that Circuit Courts are affirming

sentences that imposed as a result of variances being granted under similar circumstances. Other

cases in this district with similar outcomes include:

   -    18-cr-00037 – Marcia Jordan pled guilty to one count of tax evasion. With an offense level
        of 15, criminal history category of I, and guideline imprisonment range of 18 to 24 months,
        Judge Lemelle sentenced her to 5 years’ probation along with restitution of $313,899.00.

   -    19-cr-00200 – Danielle Franklin pled guilty to one count of Aiding and Assisting in the
        Presentation of a False Tax Return. Judge Fallon ultimately sentenced her to 4 years’
        probation along with restitution of $229,573.43.


                                                 7
       Case 2:19-cr-00113-SM-MBN Document 63-1 Filed 07/13/21 Page 8 of 11




   -    15-cr-00264 – Rommel Cordova pled guilty to one count of Willfully Making and
        Subscribing a False Income Tax Return. With an offense level of 13, criminal history
        category of I, and guideline imprisonment range of 12 to 18 months, Judge Milazzo
        sentenced him to 5 years’ probation along with restitution of $165,904.00.

   -    19-cr-00066 – Patricia Hargis pled guilty to one count of Willfully Making and
        Subscribing a False Income Tax Return. With an offense level of 15, criminal history
        category of I, and guideline imprisonment range of 18 to 24 months, Judge Lemmon
        sentenced her to a probationary period of home confinement along with restitution of
        $110,810.00.

   -    17-cr-00123 – Brendel Deemer pled guilty to one count of Making and Subscribing a False
        Income Tax Return. Judge Zainey ultimately sentenced her to 3 years’ probation along with
        restitution of $88,651.22.

   -    17-cr-00123 – Following a trial, Craig Taffaro was found guilty of counts 1 – 12, which
        included tax evasion, filing a false income tax return, and failure to file a tax return. Mr.
        Taffaro received a downward variance and was sentenced by Judge Feldman to 5 years of
        probation for each count, running concurrently, along with restitution of more than
        $75,000.00.

   -    18-cr-00050 – Sandra Raven pled guilty to one count of Wire Fraud in connection with her
        tax preparing company. Judge Ashe ultimately sentenced her to 4 years’ probation along
        with restitution of $13,468.00.


        In United States v. Holz, 118 F.App’s 928 (6th Cir. 2004), the Sixth Circuit affirmed the

district court’s grant of a downward sentence upon defendant’s showing that his business would

fail without his continued management. Emphasizing that there was no one who could take over

defendant’s business, the court considered that if the business failed, one of the defendant’s

brothers would lose his $4.5 million investment. The court also weighed the fact that if defendant

went to prison and lost his business, his four employees would lose their jobs while the independent

contractors engaged on defendant’s current projects would also suffer. The district court found,

and the Sixth Circuit agreed, that, if defendant were incarcerated, the resulting family and business

                                                 8
     Case 2:19-cr-00113-SM-MBN Document 63-1 Filed 07/13/21 Page 9 of 11




impact would cause “extraordinary harm,” justifying a downward departure sentence.

       The Second Circuit also affirmed a downward sentence on the basis of business impact in

United States v. Milikowsky, 65 F.3d 4 (2nd Cir. 1995). In that case, the defendant received two

years’ probation and home confinement – a departure from the eight to fourteen month prison

sentence recommended in the guidelines range, which was contrary to the recommendation for a

jail sentence for all anti-trust violators, in accordance with the anti-trust guideline urged by the

government. The court determined that the “extraordinary harm” to defendant’s employees

resulting from defendant’s imprisonment and the subsequent loss of his business warranted a

downward variance. Among the factors the court considered were defendant’s indispensable role

in the companies and that his unique skills and knowledge were needed to operate his companies.

The court also found that if the companies failed, close to 200 employees would lose their jobs.

The court held these circumstances merited a downward variance “to reduce the destructive effects

that incarceration of a defendant may have on innocent third parties.” Id. at 9-10. See also

United States v. Kahn, 94 F.App’x 33, 38-0 (2nd Cir. 2004) (holding that a downward sentence

may be appropriate based on business impact resulting from defendant’s imprisonment, but

remanding for further fact finding); United States v. Olbres, 99 F.2d 28 (1st Cir. 1996) (reversing

and remanding for additional fact-finding the lower court’s denial of a downward sentence on the

basis of defendant’s business impact, including the job loss for twelve employees.) Accord: U.S.

v. Tomko, 562 F.3d 558, 572 (3rd Cir. 2009).

       Maintaining Ms. Martinez in her current business capacity also enables her to continue to

support her family, extended family, and grandchildren. The provisions of 18 U.S.C. 3553(a),

                                                 9
    Case 2:19-cr-00113-SM-MBN Document 63-1 Filed 07/13/21 Page 10 of 11




mitigate against a sentence of incarceration. Ms. Martinez has no prior convictions, and assuredly

will never violate the law again. She is truly remorseful. She has already begun paying her

restitution, and will not repeat this offense. There is no need for further deterrence of Ms.

Martinez. The public needs no protection from any crimes by her, which will never happen again.

There is no need for institutional, “educational” or vocational training...” or “other correctional

treatment...” 18 U.S.C. 3553(a)(2)(1).

       A sentence of probation, or home detention, will permit Ms. Martinez to continue with her

employment, and the employment of many others, who might not be able to find or engage in more

permanent employment, as well as enabling her to support her family.

       Ms. Martinez prays for a sentence of probation, or at least home confinement, in lieu of

incarceration.



                                             Respectfully submitted,


                                             /s/ Brian J. Capitelli
                                             BRIAN J. CAPITELLI, BR# 27398
                                             CAPITELLI AND WICKER
                                             1100 Poydras St., Suite 2950
                                             New Orleans, Louisiana 70163
                                             Telephone: (504) 582-2425
                                             Facsimile: (504) 582-2422
                                             brian@capitelliandwicker.com
                                             Counsel for Martha B. Martinez




                                                10
    Case 2:19-cr-00113-SM-MBN Document 63-1 Filed 07/13/21 Page 11 of 11




                                CERTIFICATE OF SERVICE

       I hereby certify that on this 7th day of July 2021, I electronically filed the foregoing with

the Clerk of Court and provided a copy to counsel for the Government, AUSA Duane Evans.



                                             /s/ Brian J. Capitelli
                                             BRIAN J. CAPITELLI




                                                11
